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     IT IS ORDERED as set forth below:




     Date: July 12, 2024



___________________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF GEORGIA

     IN RE:                                      )
                                                 )      CHAPTER 11
     RRG, INC.                                   )      CASE NO. 24-10075-SDB
                                                 )
              DEBTOR.                            )

         ORDER ON APPLICATION FOR ADMINISTATIVE EXPENSES REGARDING
                     PERFORMANCE FOOD GROUP’S MOTION

              The Motion [Dock. No. 181] of Performance Food Group (a/k/a Merchants Company,

     LLC) (“Movant”) for Administrative Expenses pursuant to section 503(b)(9) of the Bankruptcy

     Code. Said motion was made under the aforementioned section of the Bankruptcy Code because

     Movant provided goods to Debtor within 20 days prior to the date Debtor filed its petition. The

     Motion having come before the Court on May 30, 2024 and no party in interest objected to said

     motion;

              IT IS HEREBY ORDERED that the administrative expense pursuant to Section 503(b)(9)

     be granted in the amount of $397,414.02. Said sum shall be paid as soon as practicable after the

     plan is consummated by the sale of Debtor’s assets as announced in the hearing on May 30, 2024.

                                        [END OF DOCUMENT]
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